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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

CINCLIPS, LLC,

       Plaintiff,

v.                                                                Case No: 8:16-cv-1067-T-JSS

Z KEEPERS, LLC,

      Defendant.
___________________________________/

                                  JUDGMENT IN A CIVIL CASE

Jury Verdict.

       This action came before the Court for a trial by jury. The issues have been tried and the

jury has rendered its verdict.

       Accordingly, it is ORDERED and ADJUDGED that judgment is entered in favor of

Defendant, Z KEEPERS, LLC, and against Plaintiff, CINCLIPS, LLC.



Date: September 28, 2018                                  ELIZABETH M. WARREN, CLERK

                                                          By: s/ J. Bennett, Deputy Clerk
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                   CIVIL APPEALS JURISDICTION CHECKLIST

1.   Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited by
     statute:

     (a)    Appeals from final orders pursuant to 28 U.S.C. Section 1291: Only final orders
            and judgments of district courts, or final orders of bankruptcy courts which have
            been appealed to and fully resolved by a district court under 28 U.S.C. Section 158,
            generally are appealable. A final decision is one that “ends the litigation on the
            merits and leaves nothing for the court to do but execute the judgment.” Pitney
            Bowes, Inc. V. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983). A magistrate judge’s
            report and recommendation is not final and appealable until judgment thereon is
            entered by a district court judge. 28 U.S.C. Section 636(c).

     (b)    In cases involving multiple parties or multiple claims, a judgment as to fewer
            than all parties or all claims is not a final, appealable decision unless the district
            court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b),
            Williams v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which
            resolves all issues except matters, such as attorneys’ fees and costs, that are
            collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson
            & Co., 486 U.S. 196, 201, 108 S. Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988);
            LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832, 837 (11th Cir. 1998).

     (c)    Appeals pursuant to 28 U.S.C. Section 1292(a): Appeals are permitted from
            orders “granting, continuing, modifying, refusing or dissolving injunctions or
            refusing to dissolve or modify injunctions...” and from “[i]nterlocutory
            decrees...determining the rights and liabilities of parties to admiralty cases in which
            appeals from final decrees are allowed.” Interlocutory appeals from orders denying
            temporary restraining orders are not permitted.

     (d)    Appeals pursuant to 28 U.S.C. Section 1292(b) and Fed.R.App.P.5: The
            certification specified in 28 U.S.C. Section 1292(b) must be obtained before a
            petition for permission to appeal is filed in the Court of Appeals. The district
            court’s denial of a motion for certification is not itself appealable.

     (e)    Appeals pursuant to judicially created exceptions to the finality rule: Limited
            exceptions are discussed in cases including, but not limited to: Cohen V. Beneficial
            Indus. Loan Corp., 337 U.S. 541,546,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528
            (1949); Atlantic Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine Webber, Inc.,
            890 F. 2d 371, 376 (11th Cir. 1989); Gillespie v. United States Steel Corp., 379
            U.S. 148, 157, 85 S. Ct. 308, 312, 13 L.Ed.2d 199 (1964).

2.   Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional.
     Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th Cir. 2001). In civil cases, Fed.R.App.P.4(a)
     and (c) set the following time limits:

     (a)    Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements set
            forth in Fed.R.App.P. 3 must be filed in the district court within 30 days after the


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            entry of the order or judgment appealed from. However, if the United States or an
            officer or agency thereof is a party, the notice of appeal must be filed in the district
            court within 60 days after such entry. THE NOTICE MUST BE RECEIVED
            AND FILED IN THE DISTRICT COURT NO LATER THAN THE LAST
            DAY OF THE APPEAL PERIOD - no additional days are provided for
            mailing. Special filing provisions for inmates are discussed below.

     (b)    Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other party
            may file a notice of appeal within 14 days after the date when the first notice was
            filed, or within the time otherwise prescribed by this Rule 4(a), whichever period
            ends later.”

     (c)    Fed.R.App.P.4(a)(4): If any party makes a timely motion in the district court under
            the Federal Rules of Civil Procedure of a type specified in this rule, the time for
            appeal for all parties runs from the date of entry of the order disposing of the last
            such timely filed motion.

     (d)    Fed.R.App.P.4(a)(5) and 4(a)(6): Under certain limited circumstances, the district
            court may extend the time to file a notice of appeal. Under Rule 4(a)(5), the time
            may be extended if a motion for an extension is filed within 30 days after expiration
            of the time otherwise provided to file a notice of appeal, upon a showing of
            excusable neglect or good cause. Under Rule 4(a)(6), the time may be extended if
            the district court finds upon motion that a party did not timely receive notice of the
            entry of the judgment or order, and that no party would be prejudiced by an
            extension.

     (e)    Fed.R.App.P.4(c): If an inmate confined to an institution files a notice of appeal in
            either a civil case or a criminal case, the notice of appeal is timely if it is deposited
            in the institution’s internal mail system on or before the last day for filing. Timely
            filing may be shown by a declaration in compliance with 28 U.S.C. Section 1746
            or a notarized statement, either of which must set forth the date of deposit and state
            that first-class postage has been prepaid.

3.   Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of
     Appellate Procedure, is a suitable format. See also Fed.R.App.P. 3(c). A pro se notice of
     appeal must be signed by the appellant.

4.   Effect of a notice of appeal: A district court loses jurisdiction (authority) to act after the
     filing of a timely notice of appeal, except for actions in aid of appellate jurisdiction or to
     rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).




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